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                 UNITED STATES DiSTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 No. 3:15-CR-202

                                         (Judge Munley)

JAMES E. CARSON,
                        Defendant

                             PLEAAGRE EMEI{T

     The following PIea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violations . Penalties,   and Dismissal of Other Counts

      1.    Guil   nlea. The defendant a grees to plead guilty to Count       1


of the Indictment, which charges the defendant    with   a   violation of Title

18, United States Code, Section tta(a)(3), Assault   with a Dangerous

Weapon. The maximum penalty for that offense is imprisonment for a

period of 10 years, a fine of$250,000, a term ofsupervised release of

three years to be determined by the court, which shall be served at the

conclusion of and in addition to any term of imprisonment, as well as
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the costs ofprosecution, imprisonment, probation, or supervised release

ordered, denial ofcertain federal benefits, and an assessment in the

amount of $100. At the time the guilty plea is entered, the defendant

shall admit to the court that the defendant is, in fact, guilty ofthe

offense charged in that count. After sentencing, the United States      will

move for dismissal of the remaining count. The defendant agrees,

however, that the United States may, at its sole election, reinstate the

dismissed count or seek additional charges in the event the charge to

which the defendant pleads guilty pursuant to this Agreement

subsequently is vacated, set aside, or invalidated by the district court or

appellate court. The defendant further agrees to waive any defenses to

reinstatement ofthe charge or additional charges based upon laches,

the assertion of speedy trial rights, any applicable statute of

limitations, or any other ground. The calculation of time under the

Speedy Trial Act for when   trial must   commence is tolled as of the date

of the defendant's signing of this Plea Agreement.

      2.   Term of Supe     ised Release . The defendant understands

that the court must impose a term of supervised release following any
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sentence of imprisonment exceeding one year, or when required by

statute. In addition, the defendant understands that as a condition of

any term ofsupervised release or probation, the court must order that

the defendant cooperate in the coilection of a DNA sample if the

collection of a sample is so authorized by law.

     3     No Further Prosecutio n. Exceot Tax Charees. The United

States Attorney's Office for the Middle District of Pennsylvania agrees

that it will not bring any other criminal charges against the defendant

directly arising out of the defendant's involvement in the offense

described above. However, nothing in this Agreement will     limit

prosecution for criminal tax charges, if any, arising out ofthat offense'

B. Fines and Assessments
     4.    Fine. The defendant understands that the court may impose

a fine pursuant to the Sentencing Reform Act of 1984. The    willful

failure to pay any fine imposed by the court, in full, may be considered a

breach of this Plea Agreement. Further, the defendant acknowledges

that witlful failure to pay the fine may subject the defendant to


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additional criminal violations and civil penalties pursuant to Title   18,


United States Code, Section 3611, et seq.

     5.    Alternative Fine. The defendant understands that under the

alternative fine section ofTitle 18, United States Code, Section 3571,

the maximum fine quoted above may be increased if the court finds that

any person derived pecuniary gain or suffered pecuniary loss from the

offense and that the maximum fine to be imposed, if the court elects to

proceed in this fashion, could be twice the amount of the gross gain or

twice the amount of the gross loss resulting from the offense'

      6.   Inmate       ncial Responsibilit v Prosram. If the court

orders a fine or restitution as part ofthe defendant's sentence, and the

sentence includes a term of imprisonment, the defendant agrees to

voluntarily enter the United States Bureau of Prisons-administered

program known as the Inmate Financial Responsibility Program

through which the Bureau of Prisons will collect up to 50% of the

defendant's prison salary and apply those amounts on the defendant's

behalfto the payment ofthe outstanding fine and restitution orders.


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     7.    S      I Assessment. The defendant understands       that the

court will impose a special assessment of $100 pursuant to the

provisions of Title 18, United States Code, Section 3013. Not later than

the date ofsentencing, the defendant or defendant's counsel shall mail a

check in payment of the special assessment directty to the Clerk, United

States District Court, Middle District of Pennsylvania. If the defendant

intentionally fails to make this payment this failure may be treated as a

breach of this Plea Agreement and may result in further prosecution,

the filing of additional criminal charges, or a contempt citation.

     8     Collection of Financial Obli sations . In order to facilitate the

collection of financial obligations to be imposed in connection with this

case, defendant consents and agrees to the following:

      (a) to fully disclose ali assets in which defendant has an interest

     or over which defendant has control, directly or indirectlyi

      including those held by a spouse, nominee, or other third party'

      (b) to submit to interviews by the Government regarding the

      defendant's financial statusi


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      (c) to submit a complete, accurate and   truthful financial statement

      on the form provided by the Government to the United States

      Attorney's Office not later than 14 days following entry of the

      guilty pleai

      (d) whether represented by counsel or not, to consent to contact by

      and communication with the Government, and to waive any

      prohibition against communication with a represented party by

      the Government regarding defendant's financial statusi

      (e) to authorize the Government to obtain the defendant's credit

      reports in order to evaluate the defendant's ability to satisfr any

      financial obligations imposed by the courti

      (f) to submit any financial information requested by the Probation

      Office as directed and to the sharing of financial information

      between the Government and the Probation Office'

C.   Se    tencine Guidelines Calcula tion

          9.   Determin tion of Sentencins G uidelines. Thedefendant

and counsel for both parties agree that the United States Sentencing

Commission Guidelines, which took effect on November 1, 1987, and its
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amendments, as interpretedby United States v. Booker,543 U.S. 220

(2005), wiII apply to the offense to which the defendant is pleading

guilty. The defendant further agrees that any legal and factual issues

relating to the application ofthe Federal Sentencing Guidelines to the

defendant's conduct, including facts to support any specific offense

characteristic or other enhancement or adjustment and the appropriate

sentence    within the statutory maximums provided for by law, will     be

determined by the court after briefing, a pre-sentence hearing, and a

sentencing hearing.

      10.    Acceptance of Resnonsibilitv- T     e   Levels. Ifthe defendant

can adequately demonstrate recognition and affirmative acceptance of

responsibility to the Government as required by the Sentencing

Guidelines, the Government will recommend that the defendant receive

a three'level reduction in the defendant's offense level for acceptance ot

responsibilitv. The third level, if applicable, shall be within the

discretion of the Government under U.S.S.G.     S    3E1.1. The failure of the

court to find that the defendant is entitled to a three-level reduction

shall not be a basis to void this PIea Agreement.
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     11.    Sentencine Guide lines Stipulations. With res pect to the

application ofthe Sentencing Guidelines to the defendant's conduct, the

parties stipulate and agree as follows:

     That the defendant, in the course ofthe instant offense, used a

dangeroua weapon.

     The defendant understands that neither ofthese stipulations is

binding upon either the court or the United States Probation Office,

which may make different findings as to the application of the

Sentencing Guidelines to the defendant's conduct' The defendant

further understands that the United States will provide the court and

the United States Probation Office all information in its possession

which it deems relevant to the application of the Sentencing Guidelines

to the defendant's conduct.

D. Sentencins Recommendation

      12.   Appropriate Sentence Recommendation. At the time of

sentencing, the United States may make a recommendation that         it
considers appropriate based upon the nature and circumstances ofthe

case and the defendant's   participation in the offense, and specifically
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reserves the right to recommend a sentence up to and including the

maximum sentence of imprisonment and fine allowable, together with

the cost of prosecution.

      13.     Special Conditions o f Probation/Sup ervised Release.   If
probation or a term ofsupervised release is ordered, the United States

may recommend that the court impose one or more special conditions,

including but not limited to the following:

      (a)   ttre defendant be prohibited from possessing a firearm or other

      dangerous weapon;

      (b) The defendant make     restitution, if applicable, payment of

      which shall be in accordance with a schedule to be determined by

      the courti

      (c)   the defendant pay any fine imposed in accordance with     a

      schedule to be determined by the courti

      (d) The defendant be prohibited from incurring new credit charges

      or opening additional lines ofcredit without approval ofthe

      Probation Office unless the defendant is in compliance with the

      payment schedulei
                                       o
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(e)   ttre defendant be directed to provide the Probation Office and

the United States Attorney access to any requested financial

informationi

(0 fne defendant be confined in a community treatment center,

halfway house, or similar facility;

(g)   tfr"   defendant be placed under home confinementi

(D The defendant be ordered to perform community servicei

(il fne defendant be restricted from working in certain types of

occupations or with certain individuals, if the Government deems

such restrictions to be appropriatei

()    The defendant be directed to attend substance abuse counseling

which may include testing to determine whether the defendant is

using drugs or alcoholi

(D The defendant be directed to attend psychiatric or

psychological counseling and treatment in a program approved by

the Probation Officeri

(1)   The defendant be denied certain federal benefits including

contracts, grants, loans, fellowships and licensesi and
                                 10
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     (m) The defendant be directed to pay any state or federal taxes

     and file any and all state and federal tax returns as required by

     law.

E. Victims'Rieh    and Restitution

        14.      Victims 'Rishts. The defendant understands that

pursuant to the Victim and Witness Protection Act, the Crime Victims'

Rights Act, the Justice for AII Act, and the regulations promulgated

under those Acts by the Attorney General of the United States, crime

victims have the following rights:

     (a)    The right to be reasonably protected from the accusedi

     (b)    The right to reasonable, accurate, and timely notice ofany

     public court proceeding or any parole proceeding involving the

     crime, or of any release or escape of the accusedi

     (c)    The right not to be excluded from any such public court

     proceeding, unless the court, after receiving clear and convincing

     evidence, determines that testimony by the victim would be

     materially altered if the victim heard other testimony at that

     proceedingi
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(d)   The right to be reasonably heard at any public hearing in the

district court involving release, plea, sentencing, or any parole

proceeding. The defendant understands that the victim's

comments and recommendations at any of these proceedings may

be different than those of the parties to this Agreementi

(e)   The reasonable right to confer with the attorney for the

Government in the case. The defendant understands that the

victim's opinions and recommendations given to the attorney for

the Government may be different than those presented by the

United States as a consequence of this Agreementi

(0    The right to full and timely restitution as provided for by

Iaw. The attorney for the Government is required to "fully

advocate the rights of victims on the issue of restitution unless

such advocacy would unduly prolong or complicate the sentencing

proceeding," and the court is authorized to order restitution by the

defendant including, but not limited to, restitution for property

loss, economic loss, personal injury, or deathi

(g)   The right to proceedings free from unreasonable delayi and
                               l2
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     (h)   The right to be treated with fairness and with respect for the

     victim's dignity and privacy.

         15.     Restitution. The defendant acknowled ges that,

pursuant to the Mandatory Restitution Act of April 24, 1996, Title        18,


United States Code, Section 36634, the court is required in all

instances to order full restitution to all victims for the losses those

victims have suffered as a result of the defendant's conduct. The

defendant understands that the Government may seek and the court

may impose an order of restitution as to victims of the defendant's

relevant conduct. With respect to the payment of restitution, the

defendant further agrees that, as part ofthe sentence in this matter,

the defendant shall be responsible for making payment of restitution in

full, unless the defendant can demonstrate to the satisfaction ofthe

court that the defendant's economic circumstances do not allow for the

payment of full restitution in the foreseeable future, in which case the

defendant will be required to make partial restitution payments. The

defendant understands and agrees that the Government has the

obligation and the right to pursue any legal means, including but not
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Iimited to, submission of the debt to the Treasury Offset Program, to

collect the full amount of restitution owed to the victim in a timely

fashion. Although the defendant may reserve the right to contest the

amount ofrestitution owed, the defendant agrees to take all steps to

facilitate coilection of aIl restitution, including submitting to debtor's

exams as directed by the Government. Towards this goal, the

defendant agrees to waive any further notice of forfeiture and agrees

that the United States may, at its sole election, elect to pursue civil and

criminal forfeiture in the amount of the victim restitution owed in this

case, and the court may enter both a    restitution order and a forfeiture

judgment in the amount of any unpaid restitution found by the court to

be due and owing at the time of sentencing in this    matter. The

defendant consents to the filing of any civil complaint or superseding

information which may be necessary to perfect a forfeiture order and

further stipulates and agrees that the defendant's guilty plea

constitutes an admission to all matters legal and factual necessary for

entry of a forfeiture order in this case. The parties agree that any

restitution payments obtained by the United States or the victim will        be

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applied by the United States to reduce both the restitution obligation in

this case and the amount ofthe outstanding forfeiture order entered by

the court. The parties further agree that the Government will

recommend that any assets recovered through forfeiture proceedings be

remitted to crime victims to reduce the defendant's restitution

obligation in this case. The defendant acknowledges that the making of

any payments does not preclude the Government from using other

assets or income of the defendant to satisfr the restitution obligations'

The defendant understands that the amount of restitution calculated

for purposes of Chapter 5 of the Sentencing Guidelines might be

different than the amount ofloss calculated for purposes of Chapter 2 of

the Sentencing Guidelines.

F. Information P rovided to Court and P roba    on Offrce

         16.     Backsround Information for Probation Office. The

defendant also understands that the United States will provide to the

United States Probation Office all information in its possession which

the United States deems relevant regarding the defendant's


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background, character, cooperation, if any, and involvement in this or

other offenses.

         17.      Obiections to Pre -Sentence Reoort. The defendant

understands that pursuant to the United States District Court for the

Middle Distnct of Pennsylvania "Policy for Guideline Sentencing" both

the United States and defendant must communicate to the Probation

Officer within 14 days after disclosure of the pre-sentence report any

objections they may have as to material information, sentencing

classifications, sentencing guideline ranges and policy statements

contained in or omitted from the report. The defendant agrees to meet

with the United States at least five days prior to sentencing in a good

faith attempt to resolve any substantive differences. If any issues

remain unresolved, they shall be communicated to the Probation Officer

for inclusion in an addendum to the pre-sentence report. The defendant

agrees that unresolved substantive objections   will be decided by the

court after briefing, or a pre-sentence hearing, or at the sentencing

hearing where the standard or proof will be a preponderance ofthe

evidence, and that the Federal Rules ofEvidence, other than with
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respect to privileges, shall not apply under Fed. R. Evid. 1101(d)(3), and

the court may consider any reliable evidence, including hearsay

Objections by the defendant to the pre'sentence report or the court's

rulings wiil not be grounds for withdrawal of a plea of guilty.

        18.      Relevant Sente ncins Information. At the sentencin

the United States will be permitted to bring to the court's attention, and

the court will be permitted to consider, all relevant information with

respect to the defendant's background, character and conduct including

the conduct that is the subject ofthe charge which the United States

has agreed to dismiss, and the nature and extent ofthe defendant's

cooperation, if any. The United States will be entitled to bring to the

court's attention and the court will be enti.tled to consider any failure by

the defendant to fulfill any obligation under this Agreement.

         19.     Non-Limitation on G ernment's Response. Nothing

in this Agreement shall restrict or limit the nature or content of the

United States' motions or responses to any motions filed on behalf of the

defendant. Nor does this Agreement in any way restrict the

government in responding to any request by the court for briefing,
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argument or presentation of evidence regarding the application of the

Sentencing Guidelines to the defendant's conduct, including but not

limited to requests for i.nformation concerning potential sentencing

departures.

G. Court Not Bound by PIea Aereement

        20.      Court Not Boun d bv Terms. The defendant

understands that the court is not a party to and is not bound by this

Agreement or any recommendations made by the parties. Thus, the

court is free to impose upon the defendant any sentence up to and

including the maximum sentence of imprisonment for 10 years, a fine of

$250,000, a term of supervised release ofthree years, which shall be

served at the conclusion of and in addition to any term of imprisonment,

the costs of prosecution, denial of certain federal benefits and

assessments totaling $100.

        21.      No Withdrawal of Plea Based on Sentence or

Recommendations. If the court im poses a sentence with which the

defendant is dissatisfied, the defendant will not be permitted to

withdraw any guilty plea for that reason alone, nor will the defendant
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be permitted to   withdraw any pleas should the court decline to follow

any recommendations by any of the parties to this Agreement.

H.   Breach of Plea        ement bv Defendant

        22.       Breach of Asreement. In the event the United States

believes the defendant has failed to   fulfill any obligations under this

Agreement, then the United States shall, in its discretion, have the

option of petitioning the court to be relieved of its obligations. Whether

the defendant has completely fulfilled all of the obligations under this

Agreement shall be determined by the court in an appropriate

proceeding at which any disclosures and documents provided by the

defendant shall be admissible and at which the United States shall be

required to establish any breach by a preponderance ofthe evidence.

        23.        Remedies for Breach. The defendant and the United

States agree that in the event the court concludes that the defendant

has breached the Agreement:

      (a) ttre defendant will not be permitted to withdraw any guilty

plea tendered under this Agreement and agrees not to petition for

withdrawal of any guilty pleai
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     (b)   The United States will be free to make any

recommendations to the court regarding sentencing in this casei and

     (c)   The United States will be free to bring any other charges   it
has against the defendant, including any charges originally brought

against the defendant or which may have been under investigation at

the time ofthe plea. The defendant waives and hereby agrees not to

ralse any defense to the reinstatement ofthese charges based upon

collateral estoppel, Double Jeopardy or other similar grounds.

        24.      Violation of Law          Iea or Senteaee   Pqu{lirg. The

defendant understands that it is a condition ofthis Agreement that the

defendant refrain from any further violations of state, local or federal

law while awaiting plea and sentencing under this Agreement. The

defendant acknowledges and agrees that if the government receives

information that the defendant has committed new crimes while

awaiting plea or sentencing in this case, the government may petition

the court and, if the court finds by a preponderance ofthe evidence that

the defendant has committed any other criminal offense while awaiting

plea or sentencing, the Government shall be free at its sole election to
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either:   (a)   withdraw from this Agreementi or (b) make any sentencing

recommendations to the court that it deems appropriate. The

defendant further understands and agrees that, if the court finds that

the defendant has committed any other offense while awaiting plea or

sentencing, the defendant will not be permitted to withdraw any guilty

pleas tendered pursuant to this Agreement, and the government will be

permitted to bring any additional charges which it may have against

the defendant.

I.   Deportation

           25.        Deportat ion/Removal from the United States. The

defendant understands that, ifdefendant is not a United States citizen,

deportation/removal from the United States is a possible consequence of

this plea. The defendant further agrees that this matter has been

discussed       with counsel, who has explained the immigration

consequences of this plea. Defendant        still desires to enter into this plea

after having been so advised.




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J.      Appealltrarver

           26.     Appeal Waiver    - Direct.   The defendant is aware that
                                                                                        L
Title 28, United States   Code, S    tion 1291 affords a defendant the      right   I    )
                                                                                             71
                                                                                    )
to appeal a judgment of conviction a         sentence, and that Title 18,
                                                                                    J    ()

United States Code. Section 3742G) affo         s a defendant the   right to

appeal the sentence imposed. Acknowledgin            Il of this, the defendant

knowingly waives the right to appeal the convicti         and sentence. This

waiver includes any and all possible grounds for appeal, whether

constitutional or non-constitutional, including, but not limited to, the

manner in which that sentence was determined in light of United

States v. Booker,543 U.S. 220       Q00il.   The defendant further

acknowledges that this appeal waiver is binding only upon the

defendant and that the United States retains its right to appeal in this

case.

K.   Other P rovrsrons

           27.     Aereement Not Bindine on Other Agencies. Nothing in

this Agreement shall bind any other United States Attorney's Office,


                                       ZZ
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state prosecutor's office or federal, state or local law enforcement

agency.

          28.    No Civil Claims or Suits. The defendant a grees not to

pursue or initiate any civil claims or suits against the United States of

America, its agencies or employees, whether or not presently known to

the defendant, arising out of the investigation, prosecution or

cooperation covered by this Agreement, including but not limited to any

claims for attorney's fees and other litigation expenses arising out of the

investigation and prosecution of this matter. By the defendant's guilty

plea in this matter the defendant further acknowledges that the

Government's position in this litigation was taken in good faith, had a

substantial basis in law and fact and was not vexatious'

          29.    PIea Agreement Serves Ends of Justice. The United

States is entering this PIea Agreement with the defendant because this

disposition of the matter fairly and adequately addresses the gravity of

the series ofoffenses from which the charges are drawn, as well as the

defendant's role in such offenses, thereby serving the ends of justice.


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        30.            r f AII Prior Ne tiations. This document

contains the complete and only Plea Agreement between the United

States Attorney for the Middle District of Pennsylvania and the

defendant in this case, and is binding only on the parties to this

Agreement and supersedes all prior understandings or plea offers,

whether written or oral. This agreement cannot be modified other than

in writing that is signed by all parties or on the record in court. No

other promises or inducements have been or will be made to the

defendant in connection with this case, nor have any predictions or

threats been made in connection with this plea. Pursuant to Rule 11 of

the Federal Rules of Criminal Procedure, the defendant certifies that

the defendant's plea is knowing and voluntary, and is not the result of

force or threats or promises apart from those promises set forth in this

written PIea Agreement.
         D1
                     uired Si    tures. None of the terms of this

Agreement shall be binding on the Office of the United States Attorney

for the Middle District of Pennsylvania until signed by the defendant


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 and defense counsel and then signed by the United States Attorney or

 his designee.

                              ACKNOWLEDGMENTS

      I have read this agreement and carefully reviewed every part of it
 with my attorney. I fully understand it and I volunta rily agree to it.
                                                                      7
       j0 i5                                                /)
 /o
      ate                                        AMES E       ARSON
                                                Defendant


            I am the defendant's cou    I. I have carefully
                                                       reviewed every part
  of this agreement with the defendant. To my knowledge my client's
  decision to enter into this agreement is an informed and voluntary one'


/t-t------1--
      t t5
  Datei                                         IN
                                                       /C;
                                                         CRONIN
                                                Counsel for Defendant


                                                PETER J. SMITH
                                                UNITED STATES ATTORNEY


  tl/p/B                                By:
  Date                                          PHILLIP J. CARABALLO
                                                ASSISTANT U.S. ATTORNEY




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